
	OSCN Found Document:STATE ex rel OKLAHOMA BAR ASSOCIATION v. BLASDEL

	
				
            
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				STATE ex rel OKLAHOMA BAR ASSOCIATION v. BLASDEL2014 OK 44Case Number: SCBD-6130Decided: 05/27/2014THE SUPREME COURT OF OKLAHOMACite as: 2014 OK 44, __ P.3d __
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


STATE OF OKLAHOMA, ex rel, Oklahoma Bar Association, Complainant,
v.
WILLIAM MARK BLASDEL, Respondent.



ORDER APPROVING RESIGNATION FROM OKLAHOMA BAR ASSOCIATION
PENDING DISCIPLINARY PROCEEDINGS



¶1 Upon consideration of the Oklahoma Bar Association's application for an order approving the resignation of WILLIAM MARK BLASDEL pending disciplinary proceedings, this Court finds:



1. On May 2nd, 2014, Blasdel submitted his affidavit of resignation from membership in the Oklahoma Bar Association pending disciplinary proceedings.

2. Blasdel's affidavit of resignation reflects that: a) it was freely and voluntarily rendered; b) he was not subject to coercion or duress; and c) he was fully aware of the consequences of submitting his resignation.

3. Blasdel states he is aware of the grievance against him currently being investigated by the Office of the General Counsel. The allegation is that on or about January 29, 2013, Blasdel committed the crime of harboring a fugitive and actively concealing her from Sheriff's Deputies attempting to arrest her at his law office. These actions are contrary to the provisions of 21 O.S. 2011, §440.

4. Blasdel is aware that the allegations set forth, if proven, would constitute violations of Rule 1.3 of the Rules Governing Disciplinary Procedures (RGDP), 5 O.S. 2011, ch. 1, App. 1-A, and Rules 3.3 and 8.4(b) of the Oklahoma Rules of Professional Conduct (ORPC), 5 O.S. 2011, Ch. 1, App. 3-A and his oath as an attorney. He waives all right to contest the allegations.

5. Blasdel has familiarized himself with the provisions of Rule 9.1, RGDP and agrees to comply with all provisions of that rule within 20 days of submitting his resignation.

6. Blasdel acknowledges and agrees that he may be reinstated to the practice of law only upon full compliance with the conditions and procedures prescribed by Rule 11, RGDP, and that he may make no application for reinstatement prior to the expiration of five years from the effective date of this Order Approving Resignation Pending Disciplinary Proceedings.

7. Blasdel acknowledges that, as a result of his conduct, the Client Security Fund may receive claims from his former clients. Blasdel agrees that should the Oklahoma Bar Association approve and pay such Client Security Fund claims, he will reimburse the fund the principal amounts and the applicable statutory interest prior to the filing of any application for reinstatement.

8. At this time, the Bar Association has not incurred any costs in the investigation of this matter.



¶2 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the name of WILLIAM MARK BLASDEL be stricken from the roll of attorneys. Because resignation pending disciplinary proceedings is tantamount to disbarment, Blasdel may not make application for reinstatement prior to the expiration of five years from the effective date of this order. Pursuant to Rule 9.1, RGDP, Blasdel shall notify all of his clients having legal business pending with him of his inability to represent them and of the necessity for promptly retaining new counsel. Notification shall be given to these clients within twenty days by certified mail. Repayment to the Client Security Fund for any money expended because of the malfeasance or nonfeasance of the attorney shall be one of the conditions of reinstatement.

¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 27th day of May, 2014.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR







	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Title 21. Crimes and Punishments&nbsp;CiteNameLevel&nbsp;21 O.S. 440, Harboring a Fugitive - Penalty - Aiding a Sex Offender - PenaltyCited


				
					
					
				
             
         
        
            

		